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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                 Judge Walker D. Miller

   Civil Action No. 06-cv-01265-WDM-MJW

   RELIANCE PRECAST, LLC.,

         Plaintiff,

   v.

   UNITED STATES OF AMERICA,

         Defendant.


                                  NOTICE OF DISMISSAL




         The court construes Unopposed Plaintiff’
                                                s Motion to Dismiss in accordance with

   Fed. R. Civ. P. 41(a)(2). Accordingly, this case is dismissed with prejudice, each party

   to pay his or its own costs and attorneys’fees.

         DATED at Denver, Colorado, on October 24, 2006.

                                                     BY THE COURT:



                                                     s/ Walker D. Miller
                                                     United States District Judge
